           Case 22-50542                 Doc 17          Filed 10/14/22              Entered 10/15/22 00:18:05                         Page 1 of 6
                                                              United States Bankruptcy Court
                                                                  District of Connecticut
In re:                                                                                                                 Case No. 22-50542-jam
Genever Holdings Corporation                                                                                           Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0205-5                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Oct 12, 2022                                               Form ID: 309F1                                                            Total Noticed: 95
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 14, 2022:
Recip ID                Recipient Name and Address
db                    + Genever Holdings Corporation, 200 Park Avenue, Floor 29, c/o Mr.Luc A.Despins, as Chapter 11, Trustee for Ch 11 Estate of Ho Wan
                        Kwok, New York, NY 10166-0005
aty                   + Patrick R. Linsey, Neubert Pepe & Monteith, P.C., 195 Church St, 13th Fl, New Haven, CT 06510-2009
9381729                 Adam Leitman Bailey P.C., Attn: President or General Mgr, 1 Batery Park Plaza Fl 18, New York, NY 10004-1646
9381730               + Baker & Hostetler LLP, Attn: Andrew Layden, 200 S. Orange Avenue Ste 2300, Orlando, FL 32801-3432
9381731                 Bi Hai Ge Lin, C/O Kevin Tung, Esq., 136-30 38th Avenue Ste 3d, Flushing, NY 11354
9381732                 Boxun Inc, c/o Callari Partne, Carollynn HG Callari, Esq, 100 Somerset Corporate Blvd Suite 206, Bridgewater, NJ 08807-2842
9381734                 Bravo Luck Limited, c/o Troutman Pepper, 3000 Two Logan Square, 18th and Arch St, Philadelphia, PA 19103
9381735                 Brown Rudnick LLP, Attn: Tristan G. Axelrod, William R. Baldiga, One Financial Center, Boston, MA 02111-2600
9381736                 Chao-Chih Chiu, c/o TroyGould PC, Attn: Christopher A. Lilly, 1801 Century Park East, 16th Floor, Los Angeles, CA 90067-2302
9381737                 Cheng Jian Wu Jian She, c/o Kevin Kerveng Tung, P.C., Attn: Kevin Tung, Esq., 136-20 38th Avenue Suite 3D & 3F, Flushing, NY
                        11354-4232
9381738                 Chenglong Wang, C/O HGT Law, Attn: Hung Ta, 250 Park Avenue Fl 7, New York, NY 10177-0799
9381739                 Foley & Lardner LLP, Attn: President or General Mgr, 90 Park Avenue, New York, NY 10016-1301
9381740                 Fu Le Hong Ma, c/o Kevin Tung, Esq., 136-30 38th Avenue Suite 3d, Flushing, NY 11354
9381741                 Gaosheng Guo, c/o Law Office of Ning Ye, Esq., Attn: Ning Ye, Esq., 135-11 38th Avenue Suite 1A, Flushing, NY 11354-4440
9381742                 Genever Holdings LLC, Attn: President or General Mgr, 781 Fifth Avenue Apt. 1801, New York, NY 10022-5520
9381743                 Goldberg Weprin Finkel Goldstein LLP, Attn: J. Ted Donovan, Kevin J. Nash, 1501 Broadway 22nd Floor, New York, NY 10036-5600
9381745               # Golden Spring New York, Attn: Max Krasner, 162 E. 64th Street, New York, NY 10065-7478
9381744                 Golden Spring New York, c/o Berkeley Rowe, Marble Arch Park House, 116 Park St, Mayfair, London UK W1K 6SS
9381746                 Ho Wan Kwok, 373 Taconic Road, Greenwich, CT 06831-2828
9381747                 Hong Qi Qu, c/o Kevin Tung, P.C., Attn: Kevin Tung, Esq., 136-20 38th Avenue Suite 3D&3F, Flushing, NY 11354-4232
9381748                 Huizhen Wang, c/o TroyGould PC, Attn: Christopher A. Lilly, 1801 Century Park East 16th Floor, Los Angeles, CA 90067-2367
9381750               + Jia Li Wang, c/o Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381751               + Jiamei Lu, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381752                 Jian Gong, C/O Kevin Kerveng Tung, P.C., Attn: Kevin Tung, Esq., 136-20 38th Avenue Suite 3D, Flushing, NY 11354-4232
9381753                 Jianhu Yi, C/O Arthur Angel, Esq., 1305 N. Poinsettia Place, Los Angeles, CA 90046-4305
9381754                 Jonathan Young, 141 Allenby Road, Wellington Point, QLD 4160 AUSTRALIA
9381755                 Jun Chen aka Jonathan Ho, C/O Wayne Wei Zhu, Esq., Attn: Wayne Wei Zhu, 4125 Kissena Blvd Suite 112, Flushing, NY 11355-3150
9381756               + Jun Liu, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381757                 Kaixin Hong, C/O HGT Law, Attn: Hung Ta, 250 Park Avenue 7th Floor, New York, NY 10177-0799
9381758                 Keyi Zilkie, c/o TroyGould PC, Attn: Christopher A. Lilly, 1801 Century Park East 16th Floor, Los Angeles, CA 90067-2302
9381759                 Lamp Capital, LLC, Attn: Bernardo Enriquez, 667 Madison Avenue, New York, NY 10065-8029
9381760                 Lawall & Mitchell, LLC, Attn: Aaron A Mitchell, 55 Madison Avenue Ste 400, Morristown, NJ 07960-7397
9381761                 Liehong Zhuang, C/O Trexler & Zhang, LLP, Attn: Jonathan T. Trexler, Esq., 224 West 35th Street 12th Floor, New York, NY
                        10001-2532
9381762               + Linda Cheng, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381763                 Logan Cheng, c/o Randazza Legal Group, PLLC, 100 Pearl Street 14th Fl, Hartford, CT 06103-4500
9381766                 MAYER BROWN LLP, Attn: Derek L. Wright, 71 South Wacker Drive, Chicago, IL 60606-4668
9381767                 MAYER BROWN LLP, Attn: Douglas E. Spelfogel, 1221 Avenue of the Americas, New York, NY 10020-1001
9381765               + Mao-Fu Weng, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381769              ++ NEW YORK STATE ATTORNEY GENERAL, 28 LIBERTY STREET, NY NY 10005-1400 address filed with court:, New York State
                        Attorney General, Attn: Division of Administration, 120 Broadway, New York, NY 10271-0002
9381770               + NEW YORK STATE ATTORNEY GENERAL, Attn: Division of Administration, 28 LIBERTY STREET, New York, NY 10005-1400
9381773                 NYC Dept of Law, Attn: Bernadette Brennan, Esq., 100 Church St Rm 5-233, New York, NY 10007-2601
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9381774                    NYS Dept of Taxation, Attn: Bankruptcy/Special Procedure, PO Box 5300, 12205-0300
9381768                    Nan Tong Si Jian, C/O Kevin Kerveng Tung, P.C., Attn: Kevin Tung, Esq., 136-20 38th Avenue Suite 3D & 3F, Flushing, NY 11354-4232
9381771                    Ning Ye, c/o Law Office of Ning Ye, Esq., Attn: Ning Ye, Esq., 135-11 38th Avenue Suite 1A, Flushing, NY 11354-4440
9381775                +   OMelveny & Myers LLP, Attn: Daniel Shamah, 7 Times Square, New York, NY 10036-6537
9381776                    Pacific Alliance Asia, Opportunity Fund LP, c/o OMelveny & Myers, 7 Times Sq, New York, NY 10036-6524
9381778                    Pullman & Comley, LLC, Attn: Irve J. Goldman, Esq., 850 Main Street, Bridgeport, CT 06604-4988
9381779                    Qiang Guo, c/o Berkeley Rowe, Marble Arch Park House, 116 Park St, Mayfair, London UK W1K 6SS
9381781                    Qiuju Jia, c/o Arthur Angel, Esq., 1305 N. Poinsettia Place, Los Angeles, CA 90046-4305
9381782                    Romer Debbas LLP, Attn: President or General Mgr, 275 Madison Ave Ste 801, New York, NY 10016-1153
9381784                +   RuQin Wang, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor 10017-4670
9381783                    Rui Ma, Attn: Carollynn HG Callari, Esq, Callari Partne, 100 Somerset Corporate Blvd Suite 206, 08807-2842
9381787                    SHI, C/O Thompson Hine, Attn: Steven A. Block, Esq., 20 N. Clark St. Ste 3200, 60602-5093
9381788                    STROOCK & STROOCK & LAVAN LLP, Attn: Sherry Millman, Curtis C. Mechling, 180 Maiden Lane, New York, NY 10038-4925
9381785                    Samuel Dan Nunberg, 600 South Dixie Highway Suite 455, West Palm Beach, FL 33401-5851
9381786                    Samuel Nunberg, C/O Nesenoff & Miltenberg, LLP, Attn: Andrew T. Miltenberg, Esq., 363 Seventh Ave 5th Floor, 10001-3915
9381789                +   Teli Chen, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381790                    The Sherry Netherland, Attn: President or General Mgr, 781 5th Ave, New York, NY 10022-1046
9381793                    Verdolino & Lowey, P.C., Attn: President or General Mgr, 124 Washington Street, Foxboro, MA 02035-1368
9381794                    WA&HF, LLC/Ruizeng An, C/O AFN Law, Attn: Angus Ni, Esq., 41 Madison Avenue 31st Floor, New York, NY 10010-2345
9381795                    WANG, c/o Carmody Torrance Sandak & Hennessey, Attn: David Grudberg, 195 Church Street, PO Box 1950, New Haven, CT
                           06509-1950
9381796                    Weican Watson Meng, c/o Callari Partne, Attn: Carollynn HG Callari, Esq, 100 Somerset Corporate Blvd Suite 206, Bridgewater, NJ
                           08807-2842
9381797                +   Weiguo Sun, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381798                +   Weixiand Ge, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381799                    Wen Lin, C/O HGT Law, Attn: Hung Ta, 250 Park Avenue 7th Floor, New York, NY 10177-0799
9381800                    Wu Zheng, c/o Arkin Solbakken, LLP, Attn: Robert C. Angelillo, 900 Third Avenue 18th Floor, New York, NY 10022-5000
9381801                    Xiao Yan Zhu, C/O Trexler & Zhang, LLP, Attn: Jonathan T. Trexler, Esq., 224 West 35th Street 12th Floor, New York, NY 10001-2532
9381802                    Xiaobo He, C/O HGT Law, Attn: Hung Ta, 250 Park Avenue 7th Floor, New York, NY 10177-0799
9381803                    Xiaoping Luo, C/O HGT Law, Attn: Hung Ta, 250 Park Avenue 7th Floor, New York, NY 10177-0799
9381804                +   Xingyu Yan, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381805                    Xiong Xian Wei Ye, C/O Kevin Tung, Esq., Attn: Kevin Tung, Esq, 136-20 38th Avenue Suite 3D & 3F, Flushing, NY 11354-4232
9381806                    Xiqiu Bob Fu, c/o Pullman & Comley, LLC, Attn: Irve J. Goldman, 850 Main St., P O Box 7006, Bridgeport, CT 06601-7006
9381807                    Xiqiu Fu, c/o The Lanier Law Firm, Attn: Lawrence P. Wilson, 10940 W. Sam Houston Pkwy N. Suite 100, Houston, TX 77064-5768
9381808                +   Yan Gao, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381809                    Yan Zhao, C/O Law Office of Ning Ye, Esq., Attn: Ning Ye, Esq., 135-11 38th Avenue, Suite 1A, Flushing, NY 11354-4440
9381810                    Yang Lan, c/o Arkin Solbakken, LLP, Attn: Robert C. Angelillo, 900 Third Avenue 18th Floor, New York, NY 10022-5000
9381811                    Yang Lan, c/o Callari Partne, Carollynn HG Callari, Esq, 100 Somerset Corporate Blvd Suite 206, Bridgewater, NJ 08807-2842
9381812                +   Yi Li, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381813                +   Ying Liu, C/O Thompson Hine, Attn: Brian P. Lanciault, Esq., 335 Madison Avenue 12th Floor, New York, NY 10017-4670
9381814                    Yongbing Zhang, 223 West Jackson Blvd. #1012, Chicago, IL 60606-6916
9381815                    Yua Hua Zhuang Shi, C/O Kevin Kerveng Tung, P.C., Attn: Kevin Tung, Esq., 136-20 38th Avenue Suite 3D & 3F, Flushing, NY
                           11354-4232
9381816                    Yue Hua Zhu Shi, c/o Kevin Kerveng Tung, P.C., Attn: Kevin Tung, Esq., 136-20 38th Avenue Suite 3D, Flushing, NY 11354-4232
9381817                    Yunxia Wu, c/o TroyGould PC, Attn: Christopher A. Lilly, 1801 Century Park East 16th Floor, Los Angeles, CA 90067-2302
9381818                    Zeisler & Zeisler PC, Attn: Aaron Romney, James Moriarty, J Cesaroni Eric Henzy, Stephen Kindseth, 10 Middle Street 15th Floor,
                           Bridgeport, CT 06604-4299
9381819                    Zhen Yuan Jian Zhu, C/O Kevin Tung, Esq., 136-30 38th Avenue Suite 3d, Flushing, NY 11354
9381820                    Zheng (Bruno) Wu, c/o Callari Partne, Carollynn HG Callari, Esq, 100 Somerset Corporate Blvd Suite 206, Bridgewater, NJ 08807-2842
9381821                    Zhengjun Dong, C/O HGT Law, Attn: Hung Ta, 250 Park Avenue 7th Floor, New York, NY 10177-0799

TOTAL: 87

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: dskalka@npmlaw.com
                                                                                        Oct 12 2022 18:19:00      Douglas S. Skalka, Neubert, Pepe, and Monteith,
                                                                                                                  195 Church Street, 13th Floor, New Haven, CT
                                                                                                                  06510
smg                        EDI: IRS.COM
                                                                                        Oct 12 2022 22:23:00      U. S. Internal Revenue Service, Dept. of Treasury,
                                                                                                                  135 High Street, Stop 155, Hartford, CT 06103
smg                    + Email/Text: nyrobankruptcy@sec.gov
                                                                                        Oct 12 2022 18:19:00      Securities and Exchange Commission, Northeast
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                                                                                                                Regional Office, The Woolworth Building, 233
                                                                                                                Broadway, New York, NY 10279-0001
ust                      + Email/Text: ustpregion02.nh.ecf@usdoj.gov
                                                                                       Oct 12 2022 18:19:00     U. S. Trustee, Office of the U.S. Trustee, Giaimo
                                                                                                                Federal Building, 150 Court Street, Room 302,
                                                                                                                New Haven, CT 06510-2022
9381764                     Email/Text: harveystrickon@paulhastings.com
                                                                                       Oct 12 2022 18:19:00     Luc A Despins, c/o Paul Hastings LLP, 200 Park
                                                                                                                Avenue, New York, NY 10166-0019
9381772                     Email/Text: DOFBankruptcy@finance.nyc.gov
                                                                                       Oct 12 2022 18:19:00     NYC Dept of Finance, Attn: Legal Affairs, 345
                                                                                                                Adams St Fl 3, Brooklyn, NY 11201-3739
9381791                  + Email/Text: secbankruptcy@sec.gov
                                                                                       Oct 12 2022 18:19:00     U.S. Securities & Exchange Commission, Attn:
                                                                                                                Bankruptcy Unit, 100 F Street, N.E., Washington,
                                                                                                                DC 20549-2001
9381792                     Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                       Oct 12 2022 18:19:00     United States Trustee, Office of the United States
                                                                                                                Trustee, U.S. Federal Office Building, 201 Varick
                                                                                                                Street Room 1006, New York, NY 10014-7016

TOTAL: 8


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID            Bypass Reason Name and Address
9381733                           Bravo Luck Limited, Attn: President or General Mgr, PO Box 957, Off Shore Incorporation Centre, Road Town Tortola BVI
9381777                           Pacific Alliance Asia, Opportunity Fund L.P., c/o Foley & Lardner LLP, Attn: D. Spelfogel, R. Bernard, and A. Nann, 90 Park
                                  Avenue
9381780                           Qiang Guo, c/o Bravo Luck Limited, P.O. Box 957, OffShore Incorporation Centre, Road Town Tortola BVI
9381749             *             Internal Revenue Service, Attn: Centralized Insolvency Operation, P. O. Box 7346, Philadelphia, PA 19101-7346

TOTAL: 3 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 14, 2022                                           Signature:           /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 12, 2022 at the address(es) listed
below:
Name                                Email Address
Douglas S. Skalka
                                    on behalf of Debtor Genever Holdings Corporation dskalka@npmlaw.com
                                    smowery@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

Patrick R. Linsey
                                    on behalf of Debtor Genever Holdings Corporation plinsey@npmlaw.com
                                    karguello@npmlaw.com;NeubertPepeMonteithPC@jubileebk.net

U. S. Trustee
                                    USTPRegion02.NH.ECF@USDOJ.GOV
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 Information to identify the case:
 Debtor
                   Genever Holdings Corporation                                                 EIN _ _−_ _ _ _ _ _ _
                   Name


 United States Bankruptcy Court District of Connecticut
                                                                                                Date case filed for chapter 11 10/11/22
 Case number: 22−50542 jam

Official Form 309F1 (For Corporations or Partnerships)
                                                                                                                                                    10/1/20
Notice of Chapter 11 Bankruptcy Case
For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).
The staff of the bankruptcy clerk's office cannot give legal advice.
Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                       Genever Holdings Corporation


  2. All other names used in the
     last 8 years

                                              200 Park Avenue, Floor 29
  3. Address                                  c/o Mr.Luc A.Despins, as Chapter 11
                                              Trustee for Ch 11 Estate of Ho Wan Kwok
                                              New York, NY 10166

  4. Debtor's attorney                        Douglas S. Skalka                                           Contact phone (203) 821−2000
      Name and address                        Neubert, Pepe, and Monteith
                                              195 Church Street, 13th Floor                               Email: dskalka@npmlaw.com
                                              New Haven, CT 06510

  5. Bankruptcy clerk's office                                                                            Hours open:
      Documents in this case may be filed                                                                 9:00 a.m. − 4:00 p.m. Monday − Friday
      at this address.                        915 Lafayette Blvd
      You may inspect all records filed in    Bridgeport, CT 06604                                        Contact phone 203−579−5808
      this case at this office or online at
      https://pacer.uscourts.gov.                                                                         Date: 10/12/22


  6. Meeting of creditors                     November 7, 2022 at 10:00 AM                               Location:
      The debtor's representative must
      attend the meeting to be questioned                                                                DUE TO COVID−19 THE
      under oath.                             Conference Line: 877−915−2934
      Creditors may attend, but are not                                                                  MEETING OF CREDITORS
      required to do so.                                                                                 WILL BE HELD
                                              Participant Code: 8494974                                  TELEPHONICALLY.

                                                                                                           For more information, see page 2 >




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Debtor Genever Holdings Corporation                                                                                              Case number 22−50542


  7. Proof of claim deadline                 Deadline for filing proof of claim:
                                             For all creditors (except a governmental                      January 9, 2023
                                             unit):
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                             at www.uscourts.gov or any bankruptcy clerk's office.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it
     deadline                                 excepted from discharge, you must start a judicial
      The bankruptcy clerk's office must      proceeding by filing a complaint by the deadline stated
      receive a complaint and any             below.
      required filing fee by the following    Deadline for filing the complaint:                           __________
      deadline.


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                      debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                              paying the filing fee in the bankruptcy clerk's office by the deadline.




Official Form 309F1 (For Corporations or Partnerships)                    Notice of Chapter 11 Bankruptcy Case                                          page 2
